           Case 3:14-cv-05550-MEJ Document 19 Filed 06/25/15 Page 1 of 2



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10   Attorneys for Defendant
     TOYS ‘R’ US - DELAWARE, INC.
11

12                                UNITED STATES DISTRICT COURT

13                             NORTHERN DISTRICT OF CALIFORNIA

14

15   CHARLENE ADAMS, individually, and on              Case No. 3:14-cv-05550-MEJ
     behalf of all others similarly situated,
16                                                     STIPULATION OF DISMISSAL WITH
                                                       PREJUDICE; ORDER OF DISMISSAL
17                         Plaintiff,                  [FRCP Rule 41(a)(1)(A)(ii)]

18            v.
                                                       Complaint Filed:    11/12/2014
19   TOYS ‘R’ US-DELAWARE, INC., a                     Removal Filed:      12/19/2014
     Delaware Corporation, and DOES 1 through          Trial Date:         None Set
20   100, inclusive,

21                         Defendants.

22

23                  IT IS HEREBY STIPULATED BY AND BETWEEN Defendant Toys ‘R’ Us-

24   Delaware, Inc., and Plaintiff Charlene Adams, by and through her undersigned counsel of record,

25   that, pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii), Plaintiff dismisses with prejudice all of her

26   individual claims and dismisses without prejudice all class claims. All costs of this action are

27   waived by both Parties.

28   ///
                                            1
     STIPULATION OF DISMISSAL WITH PREJUDICE;
     ORDER OF DISMISSAL [FRCP Rule 41(a)(1)(A)(ii)]                  Case No. 3:14-cv-05550-MEJ
     Case 3:14-cv-05550-MEJ Document 19 Filed 06/25/15 Page 2 of 2



Dated: June 10. 2015                       MICHAEL MALK. ESQ.
                                           A PROFESSI NAI C RPORATION


                                     By:
                                           Mic ael Malk
                                           An rneys for Plaint'
                                           CHARLENE ADAMS

Dated: June 24 2015                        JACKSON LEWIS P.C.



                                     By:   /s/ Douglas G.A. Johnston
                                           Mia Farber
                                           Adam Y. Siegel
                                           Douglas G.A. Johnston
                                           Attorneys for Defendant
                                           TOYS `R' US - DELAWARE, INC.


IT IS SO ORDERED:
Dated: June 25, 2015


                                            The Honorable Maria Elena-James
                                            U.S. Magistrate Judge



4836-5165-1620. v. .




STIPULATION OF DISMISSAL WITH PREJUDICE:
ORDER OF DISMISSAL [FRCP Rule 41(a)(1)(A)(ii)]         Case No. 3:14-cv-05550-MEI
